                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

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 UNITED STATES OF AMERICA,                           )
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                         v.                          ) Case No. 1:21-cr-175-TJK
                                                     )
 ETHAN NORDEAN, et al.,                              )
                                                     )
          Defendants.                                )
                                                     )

          NORDEAN’S MOTION FOR RELEASE PURSUANT TO 18 U.S.C. § 3164

         Nordean, through his counsel, moves for release from custody pursuant to the Speedy

Trial Act, the Sixth Amendment, and on due process grounds, for the reasons that follow.

         The trial of any detained person “who is being held in detention solely because he is

awaiting trial” must “commence not later than ninety days following the beginning of such

continuous detention . . .” 18 U.S.C. § 3164(b). “Failure to commence trial of [such] a detainee .

. .through no fault of the accused or his counsel . . . .shall result in the automatic review by the

court of the conditions of release. . .” § 3164(c). “No detainee . . .shall be held in custody

pending trial after the expiration of such ninety-day period required for the commencement of his

trial.” Id.

         “The periods of delay enumerated in section 3161(h) are excluded in computing the time

limitation specified in” § 3164. § 3164(b). However, § 3161(h)’s exclusions may not be read

“literally into § 3164.” United States v. Theron, 782 F.2d 1510, 1516 (10th Cir. 1986). That is

because if a court

         find[s] that the time has run under § 3161, [it] must order dismissal of the indictment.
         But failure to commence trial within the time limits of § 3164 results in an automatic
         review of the conditions of release and perhaps release on bail. 18 U.S.C. § 3164(c). To
         give effect to both statutes, . . . the ‘reasonable delay’ exclusion of § 3161(h)[(6)] has a

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       different meaning and application under § 3164 than under § 3161, because of the
       different context in which it arises.

Theron, 782 F.2d at 1516.

       The Theron court specifically identified a situation where exclusion of time under §

3161(h) would have a “different meaning and application under § 3164 than under § 3161.”

Namely, “[w]hat might be reasonable delay to accommodate conservation of public resources by

trying codefendants together as an exception to the Speedy Trial Act’s seventy-day limit might

become unreasonable when a defendant is incarcerated for more than ninety days without a

chance to make bail.” Theron, 782 F.2d at 1516. In these situations, “subsection (h)(7) 1 will not

require dismissal of the indictment but will require that the defendant be tried or released.” Id.

       In Theron, the defendant was charged on sixty-four counts of conspiracy and mail fraud.

A month after the defendant was detained, ten codefendants who had been released pretrial

moved for a trial continuance, citing the case’s complexity. The defendant objected and moved

to sever his trial. The district court granted the continuance, denied severance, and tolled the

STA clock, finding an ends-of-justice continuance appropriate because the matter was a complex

conspiracy case that involved many defendants. 782 F.2d at 1512. The court held that the trial

should be delayed until approximately eight months from the time the defendant was taken into

custody. At that time, he had already been in custody more than four months. Id. at 1516.

       The defendant sought a writ of mandamus from the court of appeals, directing the district

court to release the defendant under § 3164. First, the court of appeals held that the combination

of a complex conspiracy case and many defendants, without more, may not “outweigh[] the




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  At the time Theron was decided, the current § 3161(h)(6) (“A reasonable period of delay when
the defendant is joined for trial with a codefendant as to whom the time for trial has not run and
no motion for severance has been granted”) was codified at § 3161(h)(7). 782 F.2d at 1516.
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interests of the defendant in a prompt trial” under the ends-of-justice exclusion provision in §

3161(h)(7). Theron, 782 F.2d at 1513. “In holding that complexity plus multiple defendants are

not enough, by themselves, we are influenced by Congress’ express intent that the ends-of-

justice exception be used rarely and only in narrow circumstances:

       ‘The history of speedy trial legislation has shown that both the defense and the
       prosecution rely upon delay as a tactic in the trial of criminal cases. However, from the
       defendant’s point of view, delay is not synonymous with due process. A defendant who is
       required to wait long periods to be tried suffers from a magnitude of disabilities which in
       no way contribute to his well being. If he is incarcerated awaiting trial, unnecessary delay
       in the commencement of the trial could result in irreparable injury to an innocent
       individual. To one who is ultimately found guilty of a criminal offense, the time spent in
       detention may represent added time to his ultimate sentence and further retard the
       rehabilitative process.’

Theron, 782 F.2d at 1513 (quoting H.R. Rep. No. 1508, 93d Cong., 2d Sess. 4, reprinted in 1974
U.S. Code Cong. & Ad. News, 7041, 7407-08).

       “[H]olding that a complex multiple defendant case is enough to toll the Act under

subsection [(h)(7)] would emasculate the specific separate provision in subsection [(h)(6)], which

excludes from the seventy-day limitation ‘a reasonable period of delay when the defendant is

joined for trial with a codefendant as to whom the time for trial has not run and no motion for

severance has been granted.’” Theron, 782 F.2d at 1513-14 (quoting the provision now codified

at § 3161(h)(6)). “We should, of course, read independent sections of a law to have separate

meaning and application if possible.” Id. Thus, “the government and the court must look to

subsection [(h)(6)] to protect their interests in trying complex conspiracy cases in a single trial.”

Id.

       Turning to § 3161(h)(6), the court of appeals next held that the “reasonable period” of

delay attributable to joinder of multiple defendants had “not yet run to force dismissal of [the

defendant’s] indictment.” Theron, 782 F.2d at 1514. However, that did not conclude the

analysis. As indicated above, “to give effect to both [§ 3161(h)(6) and § 3164], . . . the

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‘reasonable delay’ exclusion of § 3161(h)[(6)] has a different meaning and application under §

3164 than under § 3161, because of the different context in which it arises.” Id. Even if

dismissal of the indictment was not required under the seventy-day rule, the defendant had to be

released on conditions under § 3164:

       If we did not construe the statute to require release or trial sooner than the dates the trial
       court has set, [defendant’s] continued detention would present serious constitutional
       questions. As Congress recognized, at some point a pretrial detainee denied bail must be
       tried or released. Although pretrial detention is permissible when it serves a regulatory
       rather than a punitive purpose, we believe that valid pretrial detention assumes a punitive
       character when it is prolonged significantly. . . .

       Congress obviously contemplated some extension of the ninety-day limit on incarceration
       before trial when it incorporated the § 3161(h) exclusions into § 3164. We think some
       extension is constitutionally permissible. Delays, for example, that the defendant caused
       would not raise a problem. . . [But the defendant] has been incarcerated without bail for
       more than four months. He took no steps to delay trial; he sought immediate trial and
       announced he was ready to defend. . .

Theron, 782 F.2d at 1516.

       The rule in Theron has been adopted in this Court. E.g., United States v. Knight, 157 F.

Supp. 2d 70, 75 (D.D.C. 2001) (citing Theron); United States v. Whitehorn, 1989 U.S. Dist.

LEXIS 9460, at *4 (D.D.C. June 8, 1989) (same).

       Here, Theron’s rule requires Nordean’s release under § 3164(c). Here are the ends-of-

justice continuances the Court has entered since April 6, 2021:

       April 6, 2021: Court tolled STA “nunc pro tunc” from April 1, 2021 to April 9, 2021 “for

the reasons the government laid out in terms of voluminous discovery.” 4/6/21 Hr’g Tr. at 68.

The period between April 1 to April 9 was not excludable because (1) ends-of-justice “findings

may be entered on the record after the fact but they may not be made after the fact.” United

States v. Larson, 627 F.3d 1198, 1204 (10th Cir. 2010) (emphasis original); United States v.

Keith, 42 F.3d 234, 237 (4th Cir. 1994) (holding there is no “nunc pro tunc” STA continuance);



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and (2) the court “never stated that it considered the required § 3161(h)(7)(B) factors.” United

States v. Koerber, 813 F.3d 1262, 1279 (10th Cir. 2016); United States v. Reed, 253 F. Supp. 3d

52, 59 (D.D.C. 2017) (same).

          April 9, 2021: Court vacated its hearing without tolling the STA.

          April 19, 2021: Court tolled STA “nunc pro tunc” from April 9, 2021 to May 4, 2021,

citing the ends of justice that are served by taking such action outweigh the bests interests of the

public and the defendant, “in light of the extraordinary complexity and extraordinary volume of

discovery that is being produced.” 4/19/21 Hr’g Tr. at 80. Nordean asked for a shorter STA

continuance given that the Court had revoked his bond. 4/19/21 Hr’g Tr. at 71. The period from

April 9 to April 19 is not excludable because ends-of-justice “findings may be entered on the

record after the fact but they may not be made after the fact.” Larson, 627 F.3d at 1204; Keith,

42 F.3d at 237.

          May 4, 2021: Court tolled STA from May 4, 2021 to June 3, 2021, citing “the interest of

justice.” 2

          June 3, 2021: Court tolled STA from June 3, 2021 to July 15, 2021, citing the ends of

justice, “due to the size of the investigation generally here with regard to the events of January 6,

but also with regard to the nature of this specific case. . . the four co-defendants with . . . other

alleged co-conspirators not charged in this case, but certainly there’s overlap [in discovery], the

electronic nature of a lot of the evidence, and all the representations that have been made to me

regarding the volume of defendants that have been arrested. . .” 6/3/21 Hr’g Tr. at 29. Nordean

objected to a continuance of the STA and did not agree that every kind of defense motion—even

one essential to preserving a defendant’s rights—would toll the STA. Id. at 19. The period from



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    Defendant Nordean is obtaining this transcript.
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June 3 to July 15 is not excludable because the court “never stated that it considered the required

§ 3161(h)(7)(B) factors,” Koerber, 813 F.3d at 1279, and “complexity plus multiple defendants

are not enough” for an ends-of-justice continuance over a defense objection. Theron, 782 F.2d at

1513.

          July 15, 2021: Court tolled STA from July 15, 2021 to September 21, 2021, “by virtue of

the pending motion to dismiss” and as an ends-of-justice continuance because of “the unusual

and complex nature of this case and the discovery and volume of the discovery that has been

generated by it.” 7/15/21 Hr’g Tr. at 79. Nordean explicitly asked for a trial date, noting that

even if a trial were held in April 2022, it would be “pretty serious pretrial [incarceration] time.”

7/15/21 Hr’g Tr. at 10-11. The Court understood Nordean to be invoking his speedy trial right,

as it responded, “Mr. Smith, you’re going to get your trial date. I’m sensitive to the points you’re

raising about [prolonged] detention.” Id. at 13. Nordean did not consent to a STA continuance.

Id. at 78.

          September 21, 2021: Court tolled STA from September 21, 2021 to October 26, 2021

“in the interest of justice.” The hearing was held on Nordean’s motion to dismiss the First

Superseding Indictment. 3

          November 3, 2021: Court first tolled STA, “nunc pro tunc,” from October 26, 2021 to

December 7, 2021 “due to the pending motion [to dismiss] 4 . . .[and because] the government has

requested in the interests of justice: one, that the case is so unusual and complex that, given the

need for discovery . . . that the time be tolled for that reason; and also, for all the reasons laid out




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    Nordean is obtaining this transcript.
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 Nordean’s motion to dismiss could not toll the STA after September 21, 2021, when the hearing
was held. Henderson v. United States, 476 U.S. 321, 328 (1986).
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in Chief Judge Howell’s order of November 1st and the precautions that are in place for

COVID-19, and I will adopt as – the findings that Chief Judge Howell made in that standing

order, 20-62. . . the Court simply cannot accommodate the trial in this matter—a multi-defendant

trial scheduled to last six weeks. . .” 11/3/21 Hr’g Tr. at 31-32. The period from October 26 to

November 3 may not be excluded nunc pro tunc. Larson, 627 F.3d at 1204; Keith, 42 F.3d at

237.

          December 14, 2021: Court tolled STA from December 14, 2021 through January 11,

2022, “because the ends of justice that are served by taking such action outweigh the bests

interests of the public and the defendant in a speedy trial,” inasmuch as “the public health

situation,” “voluminous discovery,” and “Ms. Hernandez’s recent entry into the case to represent

Mr. Rehl.” 12/14/21 Hr’g Tr. at 42-43. 5 Seven days between December 7 and December 14

were not tolled and cannot be excluded nunc pro tunc. Larson, 627 F.3d at 1204; Keith, 42 F.3d

at 237.

          The period between January 11, 2022 and February 8, 2022 appears not to have been

tolled and cannot be excluded nunc pro tunc. Larson, 627 F.3d at 1204; Keith, 42 F.3d at 237.

          February 8, 2022: Court tolled STA from February 8, 2022 to March 8, 2022 “in the

interests of justice.” 6

          March 8, 2022: The government had previously moved to vacate the March 8 status

conference. Nordean opposed. ECF No. 300. The period between March 8, 2022 and March

23, 2022 appears not to have been tolled under the STA and cannot be excluded nunc pro tunc.



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 The Court also cited “the lack of any objection from any defendant.” 12/14/21 Hr’g Tr. at 43.
Nordean did not consent to a STA continuance. Id. at 42.
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    Nordean is obtaining this transcript.


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Larson, 627 F.3d at 1204; Keith, 42 F.3d at 237.

          March 23, 2022: The Court tolled the STA from March 23, 2022 to April 5, 2022 “in the

interest of justice.” 7

          In sum, Nordean has been “held in custody pending trial” for a period of “continuous

detention” of approximately 122 days, not counting time properly excluded “in section 3161(h).”

§ 3164(c). His trial has not commenced. Therefore, he may not be held in custody. Id; Theron,

782 F.2d at 1516. The joinder of defendants Tarrio and Pezzola on March 7, 2022 does not

change the analysis. Theron, 782 F.2d at 1516. A decision not to release Nordean pursuant to §

3164(c) would violate his due process and Sixth Amendment rights. Id. at 1516. Accordingly, he

moves the Court to release him.

Dated: April 5, 2022                               Respectfully submitted,

                                                   /s/ David B. Smith
                                                   David B. Smith (D.C. Bar No. 403068)
                                                   108 N. Alfred St.
                                                   Alexandria, VA 22314
                                                   Phone:(703)548-8911
                                                   Fax:(703)548-8935
                                                   dbs@davidbsmithpllc.com

                                                   Nicholas D. Smith (Va. Bar No. 79745)
                                                   7 East 20th Street
                                                   New York, NY 10003
                                                   Phone: (917) 902-3869

                                            Certificate of Service

          I hereby certify that on the 5th day of April, 2022, I filed the foregoing filing with the Clerk

of Court using the CM/ECF system, which will send a notification of such filing (NEF) to the

following CM/ECF user(s):

                  Jim Nelson

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              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-7846

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                   /s/ David B. Smith
                                                   David B. Smith, D.C. Bar No. 403068
                                                   David B. Smith, PLLC
                                                   108 North Alfred Street, 1st FL
                                                   Alexandria, Virginia 22314
                                                   (703) 548-8911 / Fax (703) 548-8935
                                                   dbs@davidbsmithpllc.com




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